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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY                     )
 AND AS ADMINISTRATRIX OF THE                       )
 ESTATE OF TYRE DEANDRE NICHOLS,                    )
 DECEASED,                                          )
                                                    )
        Plaintiffs,                                 )
                                                    )
 v.                                                 )    CASE NO. 2:23-CV-02224
                                                    )    JURY DEMAND
 THE CITY OF MEMPHIS, A                             )
 MUNICIPALITY; CHIEF CERELYN DAVIS,                 )
 IN HER OFFICIAL CAPACITY; EMMITT                   )
 MARTIN III, IN HIS INDIVIDUAL                      )
 CAPACITY; DEMETRIUS HALEY, IN HIS                  )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,                 )
 IN HIS INDIVIDUAL CAPACITY;                        )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL               )
 CAPACITY; TADARRIUS BEAN, IN HIS                   )
 INDIVIDUAL CAPACITY; PRESTON                       )
 HEMPHILL, IN HIS INDIVIDUAL                        )
 CAPACITY; ROBERT LONG, IN HIS                      )
 INDIVIDUAL CAPACITY; JAMICHAEL                     )
 SANDRIDGE, IN HIS INDIVIDUAL                       )
 CAPACITY; MICHELLE WHITAKER, IN                    )
 HER INDIVIDUAL CAPACITY; DEWAYNE                   )
 SMITH, IN HIS INDIVIDUAL CAPACITY                  )
 AND AS AGENT OF THE CITY OF                        )
 MEMPHIS,
                                                    )
        Defendants.                                 )


          DEFENDANT CITY OF MEMPHIS’ RESPONSES TO PLAINTIFF’S
            SECOND REQUESTS FOR PRODUCTION OF DOCUMENTS


       Defendant the City of Memphis (“the City”), pursuant to Rule 34 of the Federal Rules of

Civil Procedure, responds to Plaintiff’s Second Requests for Production as follows:

       The City reserves the right to amend or supplement these responses as additional


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information become available through discovery and/or expert opinion or otherwise.

       All Bates Numbers listed in this document refer to the beginning Bates Number of the

document unless specifically noted otherwise.

    RESPONSES TO SECOND REQUESTS FOR PRODUCTION OF DOCUMENTS

       27.     Produce any and all notes, memoranda, and/or minutes memorializing the

confirmation hearing of Cerelyn Davis.

       RESPONSE: The City objects to this Request to the extent it seeks documents,

communications, writings, and/or things protected by the attorney-client privilege. Subject to its

objection, the City is continuing to search for non-privileged documents responsive to this Request

and will supplement this Response and its production of documents accordingly.

       28.     Produce any and all documents regarding Cerelyn Davis, the Atlanta Police

Department, the Durham Police Department, and/or the Atlanta Police Department’s “Red Dog”

unit which the City of Memphis or its agents consulted, reviewed, and/or used in making the

decision to hire Cerelyn Davis as Chief of Police.

       RESPONSE: The City objects to this Request to the extent it seeks documents,

communications, writings, and/or things protected by the attorney-client privilege. Subject to its

objection, the City is continuing to search for non-privileged documents responsive to this Request

and will supplement this Response and its production of documents accordingly.

       29.     Please make available for inspection and imaging the following mobile or cellular

telephones

               a. Cerelyn Davis, Emmitt Martin III, Demetrius Haley, Justin Smith, Desmond
                  Mill, Jr., Tadarrius Bean, Preston Hemphill, Robert Long, JaMichael
                  Sandridge, Michelle Whitaker, and DeWayne Smith in their possession from
                  January 6, 2023- January 25, 2023




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               b. The following inventoried items:

                       i. Evidence Item 0001 Samsung A53 Black Cellphone w/ Blk Case (J. Smith),
                           mentioned at Bates COM_0001479 and COM 001484.

                       ii. Evidence Item 0002 1-Samsung AS3 Black Cellphone w/ Blk Case (P,
                           mentioned at Bates COM_0001479 and COM 001484.

                      iii. Evidence Item 0003 1-Samsung AS3 Black Cellphone w/ Blk Case (D,
                           mentioned at Bates COM_0001479 and COM 001484.

                      iv. Evidence Item 0004 1-Samsung AS3 Black Cellphone w/ Blk Case (D,
                           mentioned at Bates COM_0001479 and COM 001484.

                       v. Evidence Item 0005 1-Samsung AS3 Black Cellphone w/ Blk Case (T,
                           mentioned at Bates COM_0001479 and COM 001484.

                      vi. Evidence Item 0006 1-Samsung AS3 Black Cellphone w/ Blk Case (C,
                           mentioned at Bates COM_0001479 and COM 001484.

                     vii. Evidence Item 0007 1-Samsung AS3 Black Cellphone w/ Blk Case (E,
                           mentioned at Bates COM_0001479 and COM 001484.

                     viii. Evidence Item 0001 1-Black Hikvision NVR Serial Number: 714623636,
                           mentioned at Bates COM_00001480 and COM 00001483.

       RESPONSE: The City responds that the items identified in this Request are not in the

possession, custody, or control of the City.

       30.     Any all communications from or to any employees, agents, affiliates, or members

of the Memphis Police Department or the City of Memphis, including Defendant Chief Cerelyn

Davis and any and all named Defendants, from January 6, 2023 - January 25, 2023 including but

not limited to phone call logs, text messages, emails, social media messages, posts, or direct

messages (including Facebook, Instagram, Snapchat, TikTok, X, Twitter, Slack, WhatsApp, etc.),

or any other records of communication

       RESPONSE: The City objects to this Request as overbroad and not proportional to the

needs of this case. The Request seeks all communications from or to any City employee for a

twenty-day period in January 2023. Other than the temporal limitation, the Request is unlimited in



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scope and encompasses a corpus of communications that have nothing to do with the allegations

in this litigation. The City is withholding documents based on this objection.

       31.     Any all communications from or to any employees, agents, affiliates, or members

of the Memphis Police Department or the City of Memphis, including Defendant Chief Cerelyn

Davis and any and all named Defendants, in any way related to the January 7, 2023 incident

involving Tyre Nichols, including but not limited to phone call logs, text messages, emails, social

media messages, posts, or direct messages (including Facebook, Instagram, Snapchat, TikTok, X,

Twitter, Slack, WhatsApp, etc.), or any other records of communication.

       RESPONSE: The City objects to this Request as overbroad and not proportional to the

needs of this case. The Request as stated includes communications from or to any City employee

regarding the incident giving rise to the lawsuit. Given that the City employs thousands of people

who may have communicated regarding the incident, the Request is overbroad. The City reiterates

that it offered a proposed list of custodians to Plaintiff several months ago and stands ready to

continue those discussions. The City is withholding documents responsive to this Request.

       [UNNUMBERED REQUEST] Any and all call originations, call terminations, call

attempts, voice and text message transactions, including push to talk, data communications, SMS

and MMS communications, stored SMS content, MMS content and / or Browser Cache, and voice

communications, LTE and/or IP sessions and destinations, eHRPD with cell site information,

including the originating and receiving phone numbers or network IDs for all incoming and

outgoing call transactions, data transactions and push to talk sessions from or to the personal or

professional cellular telephone or mobile telephone of any employees, agents, affiliates, or

members of the Memphis Police Department or the City of Memphis, including Defendant Chief

Cerelyn Davis and any and all named Defendants, in any way related to the January 7, 2023



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incident involving Tyre Nichols. All responsive data is to be provided in both Adobe PDF format

and/or Microsoft Excel format, .TXT or .CSV format.

       RESPONSE: The City objects to this Request as overbroad and not proportional to the

needs of this case. The City further states that it does not maintain the information that the Request

seeks. As such, the City does not believe it is withholding any documents to this Request, but the

City will continue to search to confirm this.

       32.     Any and all call originations, call terminations, call attempts, voice and text

message transactions, including push to talk, data communications, SMS and MMS

communications, stored SMS content, MMS content and / or Browser Cache, and voice

communications, LTE and/or IP sessions and destinations, eHRPD with cell site information,

including the originating and receiving phone numbers or network IDs for all incoming and

outgoing call transactions, data transactions and push to talk sessions from or to any named

Defendant, from January 6, 2023- January 25, 2023. All responsive data is to be provided in both

Adobe PDF format and/or Microsoft Excel format, .TXT or .CSV format.

       RESPONSE: The City objects to this Request as overbroad and not proportional to the

needs of this case. The City further states that it does not maintain the information that the Request

seeks, particularly to the extent the Request seeks information maintained by the named

Defendants on their personal phones and devices. As such, the City does not believe it is

withholding any documents to this Request, but the City will continue to search to confirm this.

       33.     Produce any and all policies, general orders, department rules, and/or department

regulations applicable to the Memphis Police Department at the time of Tyre Nichols’ death.

       RESPONSE: The City identifies MPD Policy and Procedures, which is being produced

contemporaneously with these responses as Bates Numbers COM_0016923 – COM_0017673.



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       34.    Produce an entire copy of any handbook or manual applicable to the Memphis

Police Department at the time of Tyre Nichols’ death.

       RESPONSE: The City identifies the MPD Standard Operating Procedures which were

previously produced as Bates Numbers COM_0007030, COM_0007847, COM_0007910,

COM_0007914,        COM_0007918,        COM_0007919,      COM_0008031,        COM_0008070,

COM_0008072,        COM_0008129,        COM_0008146,      COM_0008174,        COM_0008210,

COM_0008223,        COM_0008293,        COM_0008301,      COM_0008306,        COM_0008352,

COM_0008417,        COM_0008495,        COM_0008535,      COM_0008538,        COM_0008562,

COM_0008583,        COM_0008658,        COM_0008684,      COM_0008688,        COM_0008702,

COM_0008724,        COM_0008752,        COM_0008864,      COM_0008885,        COM_0008890,

COM_0008931,        COM_0008936,        COM_0009100,      COM_0009109,        COM_0009163,

COM_0009196,        COM_0009199,        COM_0009214,      COM_0009227,        COM_0009252,

COM_0009298,        COM_0009342,        COM_0009875,      COM_0009901,        COM_0009912,

COM_0009972, COM_0009990, COM_0009999, and COM_0010004.

       35.    Produce an entire copy of any training manual applicable to the Memphis Police

Department at the time of Tyre Nichols’ death.

       RESPONSE: The City identifies MPD Training Materials, which were previously

produced. The corresponding Bates Numbers are provided in a spreadsheet produced herewith.

       36.    Produce any and all policies, procedures, general orders, rules, regulations,

customs, or practices which carried the force of law upon the Memphis Police Department at the

time of Tyre Nichols’ death.

       RESPONSE: The City identifies MPD Policy and Procedures and MPD Standard

Operating Procedures, which are identified by Bates Number in response to Request Nos. 33 and



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34. The City further identifies MPD Training materials, which are identified by Bates Number in

a spreadsheet produced herewith.

        37.   Produce any and all policies, general orders, department rules, and/or department

regulations applicable to the Memphis Police Department’s SCORPION unit at the time of Tyre

Nichols’ death.

        RESPONSE: The City identifies the Standard Operating Procedures for the Organized

Crime Unit, of which the SCORPION Unit was a subunit, which were previously produced as

Bates    Numbers      COM_0000972,      COM_0005701,       COM_0005710,        COM_0005717,

COM_0005722,         COM_0005726,      COM_0005728,        COM_0005732,        COM_0005733,

COM_0005737,         COM_0005748,      COM_0005750,        COM_0005751,        COM_0005755,

COM_0005767,         COM_0005774,      COM_0005776,        COM_0005778,        COM_0005779,

COM_0005780, COM_0005787, COM_0005789, and COM_0005801.

        38.   Produce an entire copy of any handbook or manual applicable to the Memphis

Police Department’s SCORPION unit at the time of Tyre Nichols’ death.

        RESPONSE: The City identifies the Standard Operating Procedures for the Organized

Crime Unit, of which the SCORPION Unit was a subunit, which are identified by Bates Number

in response to Request No. 37.

        39.   Produce an entire copy of any training manual applicable to the Memphis Police

Department’s SCORPION unit at the time of Tyre Nichols’ death.

        RESPONSE: The City identifies MPD Training Materials and OCU Training Materials,

which were previously produced. The corresponding Bates Numbers are provided in a spreadsheet

produced herewith.

        40.   Produce any and all policies, procedures, general orders, rules, regulations,



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customs, or practices which carried the force of law upon the Memphis Police Department’s

SCORPION unit at the time of Tyre Nichols’ death.

        RESPONSE: The City identifies the MPD Policy and Procedures, MPD Standard

Operating Procedures, MPD Training Materials, OCU Training Materials, and OCU Standard

Operating Procedures, which are identified by Bates Number in response to Request Nos. 33, 34,

37, or in a spreadsheet produced herewith.

        41.     Produce any and all policies general orders, department rules, and/or department

regulations applicable to the Memphis Fire Department at the time of Tyre Nichols’ death.

        RESPONSE: The City identifies Memphis Fire Department (“MFD”) policies and

procedures, which will be produced as part of the City’s rolling production of documents.

        42.     Produce an entire copy of any handbook or manual applicable to the Memphis Fire

Department at the time of Tyre Nichols’ death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        43.     Produce an entire copy of any training manual applicable to the Memphis Fire

Department at the time of Tyre Nichols’ death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        44.     Produce any and all policies, procedures, general orders, rules, regulations,

customs, or practices which carry the force of law upon the Memphis Fire Department at the time

of Tyre Nichols’ death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.



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        45.     Produce a copy of each policy, general order, department rule, and/or department

regulation referenced on the first two pages of the Case Synopsis set forth by the City of Memphis

Police Division, Inspectional Services Bureau (bates-stamp COM_00000970-COM_00000970).

        RESPONSE: The City identifies the MPD Policy and Procedures, which is identified by

Bates Number in response to Request No. 33. The City specifically identifies Bates Numbers

COM_0016955 – COM_0016983.

        46.     Produce a copy of each policy, general order, department rule, and/or department

regulation found to have been violated by any employee of the City of Memphis in relation to the

death of Tyre Nichols.

        RESPONSE: The City identifies the MPD Policy and Procedures, which is identified by

Bates Number in response to Request No. 33. The City specifically identifies Bates Numbers

COM_0016955 – COM_0016983.

        47.     Produce any and all documents reflecting and/or describing any requirements,

certifications, and/or training to be completed by any City of Memphis emergency medical

technician at the time of Tyre Nichols’s death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        48.     Produce any and all documents reflecting and/or describing any requirements,

certifications, and/or training to be completed by any City of Memphis paramedic at the time of

Tyre Nichols’s death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        49.     Produce any and all documents describing the duties and/or responsibilities of a



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City of Memphis emergency medical technician at the time of Tyre Nichols’s death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        50.     Produce any and all documents describing the duties and/or responsibilities of a

City of Memphis paramedic at the time of Tyre Nichols’s death.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        51.     Produce any and all documents used to train City of Memphis police officers

between January 7, 2018, and January 7, 2023.

        RESPONSE: The City identifies MPD Training Materials and OCU Training Materials,

which are identified by Bates Number in a spreadsheet produced herewith.

        52.     Produce any and all documents used to train City of Memphis emergency medical

technicians between January 7, 2018, and January 7, 2023.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        53.     Produce any and all documents used to train City of Memphis paramedics between

January 7, 2018, and January 7, 2023.

        RESPONSE: The City will produce all MFD policies, procedures, and training materials

on a rolling basis.

        54.     Produce any and all documents documenting, reflecting, or describing changes

made to the City of Memphis’s policies, procedures, general orders, rules, regulations, customs,

practices, and/or training as a result of Tyre Nichols’s killing.

        RESPONSE: The City is continuing to search for documents responsive to this Request



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and will supplement this Response and its production of documents accordingly.

       55.     Produce any and all documents describing any and all tactical gear and clothing

that City of Memphis police officers are provided upon employment with the City of Memphis.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by officers on a given date over fifteen months ago. The City further objects

to this Request on the basis that the term “tactical gear” is vague and undefined. Subject to its

objections, the City responds that the items identified in this Request are not in the possession,

custody, or control of the City.

       56.     Produce any and all documents describing the tactical gear and clothing that the

City of Memphis issued to any named defendant at any time.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by officers at any time. The City further objects to this Request on the basis

that the term “tactical gear” is vague and undefined. Subject to its objections, the City responds

that the items identified in this Request are not in the possession, custody, or control of the City.

       57.     Produce an exemplar of each article of clothing and tactical gear worn by any

individual who responded to the incident involving Tyre Nichols on January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that



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could have been worn by officers on a given date over fifteen months ago. The City further objects

to this Request on the basis that the term “tactical gear” is vague and undefined. Subject to its

objections, the City responds that the items identified in this Request are not in the possession,

custody, or control of the City.

       58.     Produce an exemplar of each article of clothing and tactical gear worn by all named

defendants on the evening of January 7, 2023, during the incident involving Tyre Nichols.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by officers on a given date over fifteen months ago. The City further objects

to this Request on the basis that the term “tactical gear” is vague and undefined. Subject to its

objections, the City responds that the items identified in this Request are not in the possession,

custody, or control of the City.

       59.     Permit for inspection each article of clothing and tactical gear issued to Memphis

police officers which would have been worn by Memphis police officers on January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by every MPD officer on a given date over fifteen months ago. The City

further objects to this Request on the basis that the term “tactical gear” is vague and undefined.

Subject to its objections, the City responds that the items identified in this Request are not in the

possession, custody, or control of the City.

       60.     Permit for inspection each article of clothing and tactical gear issued to Memphis



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police officers in the SCORPION unit which could have been worn by Memphis police officers in

the SCORPION unit on January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by every MPD SCORPION Unit officer on a given date over fifteen months

ago. The City further objects to this Request on the basis that the term “tactical gear” is vague and

undefined. Subject to its objections, the City responds that the items identified in this Request are

not in the possession, custody, or control of the City.

       61.     Permit for inspection each article of clothing and tactical gear worn by any named

defendant during the incident involving Tyre Nichols on January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by any officer on a given date over fifteen months ago. The City further

objects to this Request on the basis that the term “tactical gear” is vague and undefined. Subject to

its objections, the City responds that the items identified in this Request are not in the possession,

custody, or control of the City.

       62.     Permit Plaintiff’s attorney and expert witness to inspect each article of clothing and

tactical gear worn by the individual defendants during the incident involving Tyre Nichols on

January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and



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gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by any officer on a given date over fifteen months ago. The City further

objects to this Request on the basis that the term “tactical gear” is vague and undefined. Subject to

its objections, the City responds that the items identified in this Request are not in the possession,

custody, or control of the City.

       63.     Permit Plaintiff’s attorney and expert witness to inspect each tactical item,

including any baton, handcuffs, and pepper spray canister, used by any individual defendant during

the incident involving Tyre Nichols on January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been used by any officer on a given date over fifteen months ago. The City further

objects to this Request on the basis that the term “tactical gear” is vague and undefined. Subject to

its objections, the City responds that the items identified in this Request are not in the possession,

custody, or control of the City.

       64.     Produce the physical dimensions of each article of clothing and tactical gear worn

by Defendants Mills, Justin Smith, Bean, Haley, and Martin during the incident involving Tyre

Nichols on January 7, 2023.

       RESPONSE: The City does not maintain records of the physical dimensions of clothing

and gear, and therefore, the City has no documents responsive to this Request.

       65.     Produce physical measurements of the height and length in inches and centimeters

of each of the letters on the back of individual Defendants’ vests which read “MEMPHIS POLICE

SCORPION TEAM 1.”



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       RESPONSE: The City does not maintain records of this information, and therefore, the

City has no documents responsive to this Request.

       66.     Produce any document identifying the brand, physical dimensions, and/or material

of any article of clothing worn by any of the individual defendants during the incident involving

Tyre Nichols on January 7, 2023.

       RESPONSE: The City objects to this Request as overbroad and not reasonably calculated

to lead to the discovery of relevant information. MPD officers purchase their own clothing and

gear, so the City does not own these items. As such, it is impossible to know the exact items that

could have been worn by officers on a given date over months ago. Subject to its objection, the

City responds that the items identified in this Request are not in the possession, custody, or control

of the City.

       67.     Any and all records which describe the physical dimensions of Defendant Haley,

Defendant Mills, Defendant Bean, Defendant Justin Smith, or Defendant Martin, such as their

height and weight.

       RESPONSE: The City does not maintain this information, and it has no documents

responsive to this Request.

       68.     Any statement made by Cerelyn Davis regarding the killing of George Floyd on

May 25, 2020, including but not limited to criticisms or critiques of Derek Chauvin and the

Minneapolis Police Department.

       RESPONSE: The City objects to this Request as not reasonably calculated to lead to the

discovery of relevant information. Subject to its objection, the City responds that Chief Davis was

not employed by the City or the Memphis Police Department in the year 2020. As such, the City

does not have any documents responsive to this request in its possession, custody, or control.



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       69.     Any minutes, memorandum, recordings, and/or notes related to the Memphis City

Council’s consideration of Cerelyn Davis’s reappointment to the position of Chief of Police.

       RESPONSE: The City is searching for responsive documents, and it will supplement this

Response accordingly.

       70.     Please reproduce the following documents in .pdf format, as they were originally

disclosed in a fashion not accessible by Plaintiff:

COM_0001907         COM_0005508          COM_0005572        COM_0006002         COM_0006137
COM_0001908         COM_0005509          COM_0005573        COM_0006003         COM_0006138
COM_0001909         COM_0005515          COM_0005576        COM_0006004         COM_0006139
COM_0001951         COM_0005527          COM_0005577        COM_0006005         COM_0006140
COM_0002219         COM_0005528          COM_0005578        COM_0006006         COM_0006141
COM_0002220         COM_0005529          COM_0005579        COM_0006007         COM_0006142
COM_0002221         COM_0005530          COM_0005580        COM_0006008         COM_0006143
COM_0002231         COM_0005531          COM_0005581        COM_0006009         COM_0006852
COM_0002928         COM_0005532          COM_0005582        COM_0006010         COM_0006854
COM_0002929         COM_0005533          COM_0005583        COM_0006011         COM_0006890
COM_0002933         COM_0005535          COM_0005584        COM_0006012         COM_0006891
COM_0002934         COM_0005536          COM_0005585        COM_0006013         COM_0007137
COM_0002935         COM_0005540          COM_0005586        COM_0006014         COM_0007138
COM_0002936         COM_0005541          COM_0005587        COM_0006015         COM_0007139
COM_0002943         COM_0005542          COM_0005588        COM_0006016         COM_0007140
COM_0002944         COM_0005543          COM_0005589        COM_0006076         COM_0007141
COM_0004955         COM_0005552          COM_0005590        COM_0006077         COM_0007142
COM_0004956         COM_0005553          COM_0005591        COM_0006078         COM_0007143
COM_0004960         COM_0005568          COM_0005592        COM_0006081         COM_0007547
COM_0004961         COM_0005569          COM_0005593        COM_0006122         COM_0007548
COM_0004962         COM_0005570          COM_0005594        COM_0006123         COM_0007549
COM_0004963         COM_0005571          COM_0005595        COM_0006124         COM_0007550
COM_0005251         COM_0005572          COM_0005596        COM_0006125         COM_0007551
COM_0005252         COM_0005561          COM_0005597        COM_0006126         COM_0007552
COM_0005253         COM_0005562          COM_0005598        COM_0006127         COM_0007553
COM_0005254         COM_0005563          COM_0005599        COM_0006128         COM_0009496
COM_0005255         COM_0005564          COM_0005993        COM_0006129         COM_0009865
COM_0005256         COM_0005565          COM_0005994        COM_0006130         COM_0009866
COM_0005257         COM_0005566          COM_0005995        COM_0006131         COM_0010733
COM_0005288         COM_0005567          COM_0005996        COM_0006132         COM_0010734
COM_0005289         COM_0005568          COM_0005997        COM_0006133         COM_0010736
COM_0005290         COM_0005569          COM_0005998        COM_0006134         COM_0010738
COM_0005291         COM_0005570          COM_0005999        COM_0006135         COM_0010748
COM_0005293         COM_0005571          COM_0006001        COM_0006136         COM_0010750

                                                 16
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COM_0010751         COM_0011935          COM_0011951        COM_0012088        COM_0012093
COM_0011887         COM_0011940          COM_0011956        COM_0012089
COM_0011899         COM_0011942          COM_0011980        COM_0012090
COM_0011910         COM_0011944          COM_0011983        COM_0012091
COM_0011926         COM_0011947          COM_0012085        COM_0012092


       RESPONSE: The City is working to resolve any technical issues and will re-produce the

documents identified in this Request once any issues are resolved.



                                                    Respectfully submitted,

                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ, P.C.


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                                                    Attorneys for Defendant City of Memphis,
                                                    Chief Cerelyn Davis in her Official
                                                    Capacity, and Dewayne Smith as Agent of
                                                    the City of Memphis




                                    CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2024, a copy of the foregoing document was served on

all counsel of record via e-mail:

                                                    s/ Bruce McMullen



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